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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


   In re:                                           Chapter 11

   RTI HOLDING COMPANY, LLC, et al.,                Case No.: 20-12456 (JTD)

                               Debtors.             Joint Administration Requested


                  MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission
pro hac vice of Jane VanLare of Cleary Gottlieb Steen & Hamilton LLP to represent Goldman
Sachs Specialty Lending Group, L.P. and Goldman Sachs Bank USA in this action.

                                               /s/ John M. Seaman
                                              John M. Seaman (#3868)
                                              ABRAMS & BAYLISS LLP
                                              20 Montchanin Road, Suite 200
                                              Wilmington, Delaware 19807
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            CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of New York and submit to the
disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation
or course of this action. I also certify that I am generally familiar with this Court’s Local Rules
and with Standing Order for District Court Fund effective 8/31/16. I further certify that the annual
fee of $25.00 has been paid to the Clerk of Court for District Court.

                                               /s/ Jane VanLare
                                              Jane VanLare
                                              Cleary Gottlieb Steen & Hamilton LLP
                                              One Liberty Plaza
                                              New York, NY 10006
                                              Telephone: (212) 225-2000
                                              jvanlare@cgsh.com

                                    Order Granting Motion

        IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.



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